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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

 QUINCY JACK             *                             CIVIL ACTION NO. 6:19-cv-00338
           Plaintiff     *
                         *
 VERSUS                  *                             JUDGE MICHAEL J. JUNEAU
                         *
                         *
 K.P. GIBSON, ET AL.     *                             MAG. JUDGE PATRICK J. HANNA
            Defendants   *
 *************************

                                   NOTICE OF SETTLEMENT

        NOW INTO COURT, through undersigned counsel, come all remaining parties to this

 litigation, who respectfully submit that they have reached an agreement to resolve all claims

 against herein. Accordingly, the respective parties hereby request that the Court issue a 60-day

 Order of Dismissal in order for the parties to finalize and effect the settlement.

                                                       Respectfully submitted by:

                                                       USRY & WEEKS, APLC
                                                       /s/Ronald S. Bryant
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                                  CERTIFICATE OF SERVICE

        I do hereby certify that on this 8th day of June, 2021, a copy of the foregoing was filed

 electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent

 by operation of the court’s electronic filing system. I also certify that a copy of the foregoing will

 be sent to all non-CM/ECF participants by United States Mail, properly addressed and postage

 prepaid.


                                                /s/Ronald S. Bryant
